
On October 4, 1962, the Court ordered “that the Appellant, within 30 days from the date of this order, cause to be filed in this Court the Record-on-Appeal in this cause or the Appeal will stand dismissed, unless, prior to the expiration of such 30 day period, good cause shall have been made to appear for failure to file such record”, and 30 days having expired from the date of said order, and the appellant having failed to file the Record-on-Appeal in this Court, and having failed to show good cause for his failure so to do, it is, upon consideration
ORDERED that the Appeal in this cause commenced by Notice of Appeal filed in the Circuit Court for Osceola County, Florida, on April 2, 1962, be and the same is hereby dismissed.
